                            Hearing Date: April 18, 2023, at 10:00 a.m. (prevailing Eastern Time)
                        Objection Deadline: April 15, 2023, at 4:00 p.m. (prevailing Eastern Time)

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
    In re:                                            )             Chapter 11
                                                      )
    CELSIUS NETWORK LLC, et al.,1                     )             Case No. 22-10964 (MG)
                                                      )
    Debtors.                                          )             (Jointly Administered)
                                                      )

     MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
     ENTRY OF AN ORDER (I) ESTABLISHING PROCEDURES TO ESTIMATE THE
      INTERCOMPANY CLAIM THAT CELSIUS NETWORK, LLC HAS AGAINST
       CELSIUS NETWORK LIMITED AND (II) GRANTING RELATED RELIEF




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC
(8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius
Networks Lending LLC (3390); Celsius US Holding LLC (7956); GK8 USA LLC (9450); GK8 Ltd. (1209);
and GK8 UK Limited (0893). The location of Debtor Celsius Network LLC’s principal place of business
and the Debtors’ service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New
Jersey 07030.



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           The Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), by and through its undersigned

counsel, hereby submits this motion (the “Motion”), pursuant to sections 105(a) and 502(c) of the

Bankruptcy Code, for entry of an order approving estimation procedures with respect to the

Intercompany Claim (as defined below) and respectfully states as follows:

                                        PRELIMINARY STATEMENT

           1.           On March 9, 2023, this Court ruled that account holders’ contract claims under the

Terms of Use are against only Celsius Network, LLC (“LLC”) and not against Celsius Network

Limited (“CNL”).2 As the Court noted, however, certain claims and causes of action, including

the intercompany claim by LLC against CNL (the “Intercompany Claim”), could “increase

recoveries for LLC’s Customers.” Customer Claims Decision at 3, n.1. Determining the amount

of the Intercompany Claim may therefore be an important step in determining the rights and

recoveries of account holders.

           2.           Estimation is appropriate under these circumstances. First, the Intercompany Claim

is unliquidated, as demonstrated by the Debtors’ statements and re-valuations. The Debtors

initially scheduled the Intercompany Claim at approximately $9.1 billion.3 They then released a

statement providing that “the as-adjusted intercompany claim held by LLC against CNL is best

reflected at the pro forma amount of $3.5 billion.”4 Now, the Committee understands that, since

releasing the Intercompany Claim Statement, the Debtors have continued to analyze the


2
 Memorandum Opinion Regarding Which Debtor Entities Have Liability for Customer Claims Under the
Terms of Use (ECF No. 2205) (the “Customer Claims Decision”).
3
  See Global Notes and Statements of Limitations, Methodology and Disclaimers Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (ECF No. 974) (the “Schedules”)
at 34.
4
  Debtors’ Statement with Respect to Intercompany Claims Held By Debtor Celsius Network LLC against
its Debtor Affiliates (ECF No. 2092) (the “Intercompany Claim Statement”) ¶ 12.



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Intercompany Claim. These fluctuations demonstrate that the value the Debtors ascribe to the

Intercompany Claim should be estimated by the Court for purposes of a plan.

           3.           Second, estimating the Intercompany Claim will avoid undue delay in these cases.

It is in the interests of all stakeholders to ensure a smooth confirmation process. For that to occur,

the issue of the Intercompany Claim (and other important issues such as substantive consolidation)

should be resolved on a timeline that coincides with confirmation of the Plan.5 The Committee

appreciates that estimating the Intercompany Claim is no small task. As such, this Motion

proposes procedures that will allow the Intercompany Claim to be estimated at or before plan

confirmation pursuant to a process that provides both oversight and transparency. Parties in

interest will have an opportunity to perform their own diligence and present their findings to the

Court for an ultimate determination, ensuring buy-in from all stakeholders, as well as finality and

certainty on a key issue in these cases.

           4.           The Preferred Equity Holders do not disagree. The Committee understands that

they have filed (or intend to soon file) a motion for similar procedures. Prior to the filing of this

Motion, the Committee offered to propose a joint motion with an agreed-upon schedule. The

Preferred Equity Holders declined, in part because of the short period of time to reach an

agreement. The Committee intends to work with the Preferred Equity Holders and the Debtors to

negotiate an acceptable schedule. To the extent common ground cannot be reached, it will bring

the matter before the Court.

           5.           For these reasons, this Court should grant the Motion and establish procedures for

estimating the Intercompany Claim as set forth herein.




5
 Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and Its Debtor Affiliates (ECF No. 2358) (as may
be amended, modified, or supplemented from time to time, the “Plan”).



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                                             Jurisdiction and Venue

           6.           This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, entered February 1, 2012. The Committee confirms its consent to

the Court entering a final order in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

           7.           Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           8.           The bases for the relief requested herein are sections 105 and 502(c) of title 11 of

the United States Code (the “Bankruptcy Code”) and rule 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                 BACKGROUND

I.         The Chapter 11 Cases

           9.           On July 13, 2022 (the “Petition Date”), the Debtors filed voluntary petitions for

relief in this Court under Chapter 11 of the Bankruptcy Code. The Debtors continue to operate

their businesses and manage their properties as debtors in possession under sections 1107(a) and

1108 of the Bankruptcy Code. On July 27, 2022, the U.S. Trustee appointed the Committee, which

is comprised of seven members, each of whom holds crypto assets through the Celsius platform

(ECF No. 241). On September 14, 2022, the Court entered an order approving the appointment of

Shoba Pillay as examiner pursuant to section 1104(d) of the Bankruptcy Code. (ECF No. 923).

           10.          On October 5, 2022, the Debtors filed their Schedules and Statements, reflecting

their books and records as of the Petition Date. See Schedules at 2. LLC’s schedules and

statements listed a $9.093 billion intercompany claim due from CNL. Id. at 34.




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           11.          On February 16, 2023, the Debtors filed the Intercompany Claim Statement, which

explained that the Debtors and their advisors have continued to reconcile intercompany

transactions between CNL and LLC since the Schedules were filed.                  Intercompany Claim

Statement ¶ 4. In the Intercompany Claim Statement, the Debtors stated that “the Debtors and

A&M believe that the as-adjusted intercompany claim held by LLC against CNL is best reflected

at the pro forma amount of $3.5 billion.” Id. ¶ 12. The Committee understands that the Debtors

have since continued to analyze the Intercompany Claim.

           12.          The Intercompany Claim Statement described an “enormous volume of historical

intercompany transactions and severe deficiencies in intercompany record keeping.” Id. ¶ 4. As

explained in the Intercompany Claim Statement, “the Debtors did not generally record prepetition

intercompany transactions in their books and records contemporaneously with such transfers” and

“did not record intercompany transactions at all” in “many cases.” Id. ¶ 5. The migration of assets

and liabilities from CNL to LLC was no exception to this rule. The Debtors “accounted for only

the cost basis” of the assets that were transferred from CNL to LLC and failed to perform basic

mark to market reconciliations to track appreciation and depreciation in cryptocurrency price

movements. See id.

           13.          It is unclear whether any assets actually ever changed hands. As the Examiner

found, following the migration, “crypto assets continued to be deployed directly from the same

Fireblocks workspaces (or in other words, the wallets in vaults in the Celsius Network (UK)

workspace were not moved to vaults in the Celsius Network (US) workspace). That arrangement

continues to this day.” Final Report of Shoba Pillay, Examiner at 366 (ECF No. 1956).

II.        The Preferred Equity Ruling

           14.          On March 9, this Court issued the Customer Claims Decision, which found that

Celsius customers can assert contract claims under the Terms of Use solely against LLC and not


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against CNL or any other Celsius entity. The Court noted, however, that certain claims and causes

of action, including the Intercompany Claim, “could reduce or eliminate entirely any recovery for

the Series B Preferred Equity holders . . . ” Customer Claims Decision at 3, n.1. Thus, determining

the amount of the Intercompany Claim is a key issue for progressing these cases toward resolution.6

                                             RELIEF REQUESTED

           15.          The Committee requests entry of an order, substantially in the form attached hereto

as Exhibit A (the “Order”), setting procedures to estimate the Intercompany Claim for allowance

purposes and granting related relief.

                                                  ARGUMENT

I.         The Intercompany Claim Must Be Estimated.

           16.          Congress intended to invest the term “claim” with the “broadest possible” scope,

including unliquidated and contingent claims, so that “all legal obligations of the debtor . . . will

be able to be dealt with in a bankruptcy proceeding.” See In re Chateaugay Corp., 53 F.3d 478,

496-97 (2d Cir. 1995) (citing to H.R. Rep No. 95-595, at 310 (1977), U.C. Code Cong. & Admin.

News 1978, pp. 5787, 6267). Estimation is one way in which a bankruptcy court can achieve

Congress’s objective, as it “provides a means for . . . reorganization, and/or distributions on claims,

without awaiting the results of legal proceedings that could take a very long time to determine.”

In re Chemtura Corp., 448 B.R. 635, 649-50 (Bankr. S.D.N.Y. 2011) (internal quotations and

citation omitted); In re Enron Corp., 2006 WL 544463, at *2, *5 (Bankr. S.D.N.Y. 2006); see also

In re Adelphia Bus. Sols. Inc., 341 B.R. 415, 422 (Bankr. S.D.N.Y. 2003).



6
  Consistent with the Court’s statements in the Customer Claims Decision, the Committee intends to bring
other claims and causes of action (for example, substantive consolidation and fraudulent conveyance)
regarding account holders’ rights and entitlements. The Committee intends to coordinate these actions to
the extent possible on the schedule approved by the Court so that all relevant evidence and arguments can
be presented to the Court efficiently.



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           17.          Section 502(c) provides that a bankruptcy court “shall” estimate a contingent or

unliquidated claim when the “fixing or liquidation” of such claim would otherwise “unduly delay

the administration of the case.” 11 U.S.C. § 502(c)(1); see also In re G-I Holdings, Inc., 323 B.R.

583, 599 (Bankr. D.N.J. 2005) (noting that the duty to estimate contingent or unliquidated claims

is a “mandatory” obligation of the court where otherwise the claim would cause undue delay); In

re Lane, 68 B.R. 609, 611 (Bankr. D. Haw. 1986) (same). In keeping with this statutory mandate,

courts have held that the prerequisites for mandatory estimation are that (a) the claim must be

contingent or unliquidated and (b) the delay associated with fixing or liquidating the claim would

be “undue.” In re LightSquared Inc., 2014 WL 5488413, at *3 (Bankr. S.D.N.Y. 2014). The

Intercompany Claim meets both requirements.

                        The Intercompany Claim Is Unliquidated.

           18.          “If ‘the value of the claim is easily ascertainable,’ it is generally viewed as

liquidated. If that value depends instead on ‘a future exercise of discretion, not restricted by

specific criteria, the claim is unliquidated.’” Mazzeo v. United States (In re Mazzeo), 131 F.3d

295, 304 (2d Cir. 1997) (citations omitted); In re Interco, Inc., 137 B.R. 993, 997 (Bankr. E.D.

Mo. 1992) (holding that a claim was unliquidated under 502(c) where liquidation would require

resolution of several disputed issues); In re Loya, 123 B.R. 338, 341 (B.A.P. 9th Cir. 1991) (stating

that whether a claim is unliquidated “turns on the distinction between a simple hearing to determine

the amount of a certain debt, and an extensive and contested evidentiary hearing in which

substantial evidence may be necessary to establish amounts or liability” (citation omitted)); see

also In re Per Fostvedt, 823 F.2d 305, 306 (9th Cir. 1987) (holding that a claim is unliquidated if

it is not subject to “ready determination and precision in computation of the amount due” (citation

omitted)).




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           19.          Here, the Intercompany Claim is unliquidated and not easily calculated. Indeed,

the history of the Debtors’ schedules speaks to that fact. The Debtors originally scheduled the

amount of the Intercompany Claim as $9.1 billion. See Schedules at 34. Then, the Debtors

released their Intercompany Claim Statement, providing that “the as-adjusted intercompany claim

held by LLC against CNL is best reflected at the pro forma amount of $3.5 billion.” Intercompany

Claim Statement ¶ 12. The Committee understands that the Debtors have since continued to

analyze the Intercompany Claim. These fluctuations show that the Intercompany Claim has not

been liquidated.

           20.          Additionally, the Debtors have acknowledged that, “[d]espite best efforts to

understand the complete universe of intercompany transactions, the Debtors and A&M believe

that a comprehensive accounting of all intercompany transactions would require forensic analysis

and be costly and time consuming, if it were even possible given the recordkeeping deficiencies.”

Intercompany Claim Statement ¶ 12. In other words, the Debtors acknowledge that calculating

the Intercompany Claim will require substantial analysis and could be subject to competing

interpretations, which further supports estimation. Interco, 137 B.R. at 997.

                        Estimation Of The Intercompany Claim Will Avoid An Undue Delay In
                        These Chapter 11 Cases.

           21.          Following the Customer Claims Decision, account holders and other parties in

interest wish to determine a key issue that may affect their rights and expected recoveries in these

cases. Estimating the Intercompany Claim provides the simplest and clearest path to achieving

this goal. By contrast, failure to estimate the Intercompany Claim may result in confusion and

uncertainty.            The result will likely be a disorganized flurry of motion practice, adversary

complaints, and other one-off attempts at determining parties’ entitlements. Such uncoordinated




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and voluminous litigation will cause confusion and delay. Allowing estimation will substantially

channel the issue into a single, orderly process.

II.        The Proposed Estimation Procedures Should Be Adopted.

           22.          This Court has wide discretion to determine the method best suited to estimating a

claim. Chemtura Corp., 448 B.R. at 648; In re Thomson McKinnon Secs., Inc., 191 B.R. 976, 989

(Bankr. S.D.N.Y. 1996). Indeed, overly time-consuming proceedings defeat the very purpose of

section 502(c)(1), which is to avoid undue delay. In re Windsor Plumbing Supply Co., Inc., 170

B.R. 503, 520 (Bankr. E.D.N.Y. 1994).

           23.          The procedures below propose an orderly estimation. As a first step, parties seeking

to value the Intercompany Claim can take discovery of the Debtors regarding the Intercompany

Claim, including the Debtors’ previous efforts to value that claim. Then, in consultation with

experts, parties can determine what they believe to be the correct value of the Intercompany Claim.

Parties will then have an opportunity to take discovery regarding one another’s estimates,

culminating in an evidentiary hearing before the Court.

           24.          These procedures will allow for an appropriately expert-driven, adversarial process

by which parties can present their findings and conclusions regarding the value of the

Intercompany Claim for the Court’s ultimate determination. This process will ensure that the value

the Court ascribes to the Intercompany Claim is based on an evidentiary presentation and reflects

input from experts, whose knowledge and skill the Court will have the opportunity to assess.

           25.          The proposed timeline for this process is set forth below:7

                                          Task                                        Deadline

            Deadline for parties to serve written discovery on the                April 21, 2023
            Debtors regarding the Intercompany Claim

7
    As noted above, the Committee intends to bring certain claims and causes of action (for example, substantive



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            Deadline for the Debtors to respond to written                              May 1, 2023
            discovery requests

            Deadline for the Debtors to produce written discovery                       May 5, 2023

            Deadline for parties to identify experts                                   May 10, 2023

            Deadline to complete fact depositions (if any)                             May 12, 2023

            Deadline for parties to file opening briefs and expert                     May 18, 2023
            reports

            Deadline for parties to file response briefs and rebuttal                   June 2, 2023
            reports

            Deadline to complete expert depositions                                    June 13, 2023

            Deadline to exchange witness and exhibit lists                             June 15, 2023

            Deadline for objections to witness and exhibit lists                       June 16, 2023

            Estimation hearing                                                               TBD

           26.          The above schedule is intended to ensure that the amount of the Intercompany

Claim can be resolved prior to the confirmation hearing. The Committee believes that this

procedure is appropriate under section 502(c), ensures due process, and avoids undue delay.

                                                       Notice

           27.          The Committee will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the Debtors; (c) the holders of the 50 largest unsecured

claims against the Debtors (on a consolidated basis); (d) the United States Attorney’s Office for

the Southern District of New York; (e) the Internal Revenue Service; (f) the offices of the attorneys

general in the states in which the Debtors operate; (g) the Securities and Exchange Commission;

(h) the Chapter 11 examiner; and (i) any party that has requested notice pursuant to Bankruptcy


consolidation and fraudulent conveyance) that it believes would be helpful and efficient to brief and argue in parallel
with estimation of the Intercompany Claim. The Committee intends to meet and confer with the Debtors and the
Series B Preferred Holders regarding incorporating these other claims and causes of action into this schedule.



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Rule 2002. The Committee submits that, in light of the nature of the relief requested, no other or

further notice need be given.

                                              Reservation of Rights

           28.          The Committee reserves all rights to supplement, amend, or re-file this Motion.

                                                   Conclusion

           29.          WHEREFORE, for the reasons set forth herein, the Committee respectfully

requests that the Court enter the Order and other relief as the Court deems just and proper.



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 Dated: April 4, 2023        Respectfully submitted,
        New York, New York

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                             Unsecured Creditors




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                         EXHIBIT A

                        Proposed Order




AMERICAS 116616989 v1
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    )
    In re:                                          )         Chapter 11
                                                    )
    CELSIUS NETWORK LLC, et al., 1                  )         Case No. 22-10964 (MG)
                                                    )
    Debtors.                                        )         (Jointly Administered)
                                                    )

            ORDER GRANTING THE MOTION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN
         ORDER (I) ESTABLISHING PROCEDURES TO ESTIMATE THE
    INTERCOMPANY CLAIM THAT CELSIUS NETWORK, LLC HAS AGAINST
      CELSIUS NETWORK LIMITED AND (II) GRANTING RELATED RELIF

             Upon the motion (ECF No. ●) (the “Motion”)2 of the Committee for entry of an

order (this “Order”) establishing procedures to estimate the Intercompany Claim that

Celsius Network, LLC (“LLC”) has against Celsius Network Limited (“CNL”) for

allowance purposes, all as more fully set forth in the Motion; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the Southern District

of New York, entered February 1, 2012; and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court

having found that venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Celsius Network LLC (2148); Celsius KeyFi LLC (4414);
Celsius Lending LLC (8417); Celsius Mining LLC (1387); Celsius Network Inc. (1219); Celsius
Network Limited (8554); Celsius Networks Lending LLC (3390); Celsius US Holding LLC (7956);
GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited (0893). The location of Debtor
Celsius Network LLC’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
2
    Capitalized terms used but not defined herein have the meanings given to them in the Motion.



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found that the notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and that no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court; and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is hereby ORDERED THAT:

           1.           The Motion is granted as set forth in this Order.

           2.           Pursuant to Bankruptcy Code section 502(c), procedures shall be

established to estimate the Intercompany Claim that LLC has against CNL for allowance

purposes.

           3.           Estimation shall follow the below schedule:

                                         Task                                 Deadline

            Deadline for parties to serve written discovery on the          April 21, 2023
            Debtors regarding the Intercompany Claim

            Deadline for the Debtors to respond to written                  May 1, 2023
            discovery requests

            Deadline for the Debtors to produce written                     May 5, 2023
            discovery

            Deadline for parties to identify experts                        May 10, 2023

            Deadline to complete fact depositions (if any)                  May 12, 2023

            Deadline for parties to file opening briefs and expert          May 18, 2023
            reports

            Deadline for parties to file response briefs and                June 2, 2023
            rebuttal reports

            Deadline to complete expert depositions                         June 13, 2023



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            Deadline to exchange witness and exhibit lists                      June 15, 2023

            Deadline for objections to witness and exhibit lists                June 16, 2023

            Estimation hearing                                                       TBD

           4.           The above schedule may be modified by further order of the Court.

           5.           To the extent the Court conducts a hearing on estimation in accordance with

the above schedule, such hearing shall occur at or before any hearing in connection with

confirmation of a proposed chapter 11 plan for the Debtors.

           6.           Nothing in this Order shall preclude the Committee from seeking any other

relief or asserting any other claim or cause of action.

           7.           The Committee is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

           8.           This Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order.



Dated: ___________________________                            ______________________________
New York, New York                                            United States Bankruptcy Judge




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